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        Multimedia
    8

    9
                          UNITED STATES DISTRICT COURT
   10
                       SOUTHERN DISTRICT OF CALIFORNIA
   11

   12   GOPHER MEDIA LLC (formerly CASE NO.: 3:22-cv-00131-TWR-BLM
        known as Local Clicks), dba Doctor
   13   Multimedia, a Nevada Limited FIRST AMENDED COMPLAINT
        Liability Corporation,             FOR:
   14
                        Plaintiff,           1) MISAPPROPRIATION OF
   15                                           TRADE SECRETS (UNDER 18
                        v.                      U.S.C. §§ 1836, et seq.)
   16                                        2) MISAPPROPRIATION OF
        Modern Doc Media, a California          TRADE SECRETS (UNDER
   17   business entity; The Modern Media       CALIFORNIA UNIFORM
        Group LLC, a California limited         TRADE SECRETS ACT);
   18   liability company; Andrew Hoffman,   3) UNFAIR BUSINESS
        an individual;and Does 1-10             PRACTICES;
   19                                        4) FALSE ADVERTISING
   20
                                                UNDER SECTION 43(a)
                         Defendants.            OF THE LANHAM ACT;
   21
                                             5) COMMERCIAL
                                                DEFAMATION/TRADE
   22
                                                LIBEL;
                                             6) TRADEMARK
   23
                                                INFRINGEMENT;
                                             7) UNFAIR COMPETITION AND
   24
                                                FALSE DESIGNATION OF
                                                ORIGIN;
   25
                                             8) FRAUD – INTENTIONAL
                                                AND NEGLIGENT
   26
                                                (INCLUDING
                                                CONCEALMENT);
   27
                                             9) BREACH OF CONTRACT;
                                                and,
   28
                                             -1-
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                                                    10)    CYBERSQUATTING
    1                                                  PURSUANT to 15 U.S.C.A. §
                                                       1125(d);
    2

    3                                                    JURY DEMANDED
    4

    5

    6

    7

    8

    9        COMES NOW PLAINTIFF GOPHER MEDIA LLC formerly known as

   10 FKA Local Clicks), dba Doctor Multimedia (hereafter “Doctor Multimedia” or

   11 "DMM" or "Gopher Media LLC" or "Plaintiff") who complains and alleges as

   12 follows against Defendant, Modern Doc Media ("MDM"), a California business

   13 entity; The Modern Media Group LLC ("MGM"), a California liability company;

   14 Andrew Hoffman, and Does 1-10 (collectively the “Defendants” or "MDM") as

   15 follows:

   16                                     THE PARTIES

   17        1.    At all times relevant herein, Plaintiff GOPHER MEDIA LLC (formerly

   18 known Local Clicks), dba Doctor Multimedia (hereafter “Doctor Multimedia” or

   19 "DMM" or "Gopher Media LLC") was and is a limited liability company

   20 incorporated in the State of Nevada with an address of 4471 Dean Martin Drive, #

   21 2009, Las Vegas, Nevada 89103.        Doctor Multimedia also operates and does

   22 business in the State of California, County of San Diego, City of La Jolla from an

   23 office located at 8070 La Jolla Shores Drive, # 528, La Jolla, CA 92037.

   24        2.    Upon information and belief and thereupon so alleged, at all times

   25 relevant, Defendant Modern Doc Media, ("MDM") is and was a California business

   26 entity located and doing business in the City of San Diego, County of San Diego,

   27 State of California. Upon information and belief and thereupon so alleged, at all

   28 times relevant MDM's address was and is 7455 Caminito Rialto, San Diego CA
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    1 92037. Upon information and belief and thereupon so alleged,              MDM is not
    2 registered with the California Secretary State or any secretary of state in the United

    3 States. Upon information and belief and thereupon so alleged, as such, MDM has

    4 no capacity to defend itself or sue in this matter and/or standing to defend or sue in

    5 this case. Upon information and belief and so alleged, Defendant MDM committed

    6 the acts complained of herein with the intention of causing effects in the County of

    7 San Diego, State of California. Further, Plaintiff alleges that Defendant MDM: (1)

    8 did and does business in the State of California with respect to causes of action

    9 arising out of that business; (2) did business in the State of California, before this

   10 action was brought with respect to causes of action arising out of that business;

   11 and/or (3) does business in the State of California with respect to causes of action

   12 that do not arise from that business, but said business        is so continuous and
   13 substantial as to make the exercise of jurisdiction reasonable over it.

   14        3.     Upon information and belief and thereupon so alleged, at all times
   15 relevant, Defendant The Modern Media Group LLC ("MDG") is and was a

   16 California business entity located and doing business in the City of San Diego,

   17 County of San Diego, State of California. Upon information and belief and

   18 thereupon so alleged, at all times relevant MDM's address was and is 5755 Oberlin

   19 Drive, Suite 301 San Diego, CA 92121. Upon information and belief and thereupon

   20 so alleged,   MDM is not registered with the California Secretary State or any
   21 secretary of state in the United States. Upon information and belief and thereupon

   22 so alleged, as such, MDM has no capacity to defend itself or sue in this matter and/or

   23 standing to defend or sue in this case. Upon information and belief and so alleged,

   24 Defendant MDG committed the acts complained of herein with the intention of

   25 causing effects in the County of San Diego, State of California. Further, Plaintiff

   26 alleges that Defendant MDG: (1) did and does business in the State of California

   27 with respect to causes of action arising out of that business; (2) did business in the

   28 State of California, before this action was brought with respect to causes of action
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    1 arising out of that business; and/or (3) does business in the State of California with

    2 respect to causes of action that do not arise from that business, but said business is

    3 so continuous and substantial as to make the exercise of jurisdiction reasonable over

    4 it.

    5          4.    Upon information and belief and thereupon so alleged, at all times
    6 relevant, Defendant Andrew Hoffman ("Hoffman") is an individual residing in and

    7 doing business in the City of San Diego, County of San Diego, State of California.

    8 Upon information and belief and so alleged, Defendant Hoffman committed the acts

    9 complained of herein with the intention of causing effects in the County of San

   10 Diego, State of California. Further, Plaintiff alleges that Defendant Hoffman: (1)

   11 did and does business in the State of California with respect to causes of action

   12 arising out of that business; (2) did business in the State of California, before this

   13 action was brought with respect to causes of action arising out of that business;

   14 and/or (3) does business in the State of California with respect to causes of action

   15 that do not arise from that business, but said business        is so continuous and
   16 substantial as to make the exercise of jurisdiction reasonable over him.

   17          5.    The complete and true names, involvement and/or capacities, whether
   18 individual, corporate, professional, or otherwise, of the Defendants are not presently

   19 fully known and/or are unknown to the Plaintiff who, therefore, sue said Defendants

   20 under such fictitious names. The true names and capacities, whether individual or

   21 otherwise, of these unknown defendants are unknown to Plaintiff, who use such

   22 fictitious names. Plaintiff is informed and believe that each of the Defendants is

   23 responsible in some manner for the acts or omissions alleged in this complaint, or

   24 otherwise caused them damages. Each of the Defendants was the agent or employee

   25 of the other Defendants, and in doing the acts alleged in this Complaint was acting

   26 in the course and scope of such agency and employment. Each of the defendants

   27 engaged in, joined in, conspired, and aided and abetted the other defendants in

   28 carrying out the wrongful acts alleged in this Complaint, and each defendant ratified
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    1 and authorized the wrongful acts of the other Defendants. Plaintiff requests leave of

    2 this Court to amend this Complaint to set forth the true names, involvement, and/or

    3 capacities, whether individual, corporate, professional, or otherwise, when the same

    4 have been ascertained or adequate discovery is produced, provided and/or obtained.

    5 Plaintiff is further informed, believe, and based thereon allege that the unknown

    6 defendants have aided, abetted, directly or actively participated in, and/or ratified

    7 the conduct complained of herein. Plaintiff further alleges that all of the unknown

    8 defendants are responsible for and are a direct and legal cause in some manner of

    9 the events, happenings, tortuous conduct, malfeasance and damages complained of

   10 herein or referred to, which caused the injuries and damages to Plaintiff as set forth

   11 in this Complaint.

   12                             JURISDICTION AND VENUE
   13        6.       Plaintiff incorporates as though fully set forth herein the allegations
   14 contained above in Paragraphs 1 through 5 of this Complaint as well as all

   15 allegations stated below in each cause of action in the Complaint.

   16        7.       This Court has original subject matter jurisdiction over this matter
   17 pursuant to 28 U.S.C. § 1331, because the claims at issue are governed by the laws

   18 of the United States, specifically the federal Defend Trade Secrets Act ("DTSA"),

   19 18 U.S.C. §§ 1836, et seq. and related statutes.

   20        8.       This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367
   21 over other claims brought by Plaintiff because they form part of the same case or

   22 controversy as the claims over which this Court has original subject matter

   23 jurisdiction.

   24        9.       This is an action for unfair competition is joined with and substantially
   25 related to Plaintiff’s claim of false designation of origin, which claim arises under

   26 the federal trademark laws (15 U.S.C.A. §§ 1051 et seq.). This is also a civil action

   27 which arises under Section 43(a) (15 U.S.C.§1125(a)) of the United States

   28 Trademark Act. Jurisdiction is based upon 15 U.S.C. Section 1121(a) and 28 U.S.C.
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    1 Section 1331.Accordingly, this Court is also vested with subject matter jurisdiction

    2 under 15 U.S.C.A. § 1121, 15 U.S.C.§1125, and 28 U.S.C.A. § 1338.

    3        10.    This Court has personal jurisdiction over Defendants because they
    4 reside, do business in, are located at, and/or are domiciled in the City of San Diego,

    5 County of San Diego, State of California.

    6        11.    Venue in this judicial district is appropriate pursuant to 28 U.S.C.
    7 §1391(b)(2) in that a substantial part of the events or omissions giving rise to the

    8 claims occurred in this district. Separately, venue is also found pursuant to 28

    9 U.S.C.§1391(b)(3) in that all Defendants are subject to the Court’s personal

   10 jurisdiction and because Defendants reside in and are domiciled in California.

   11                            NATURE OF THE ACTION
   12        12.    Plaintiff incorporates as though fully set forth herein the allegations
   13 contained above in Paragraphs 1 through 11 of this Complaint as well as all

   14 allegations stated below in each cause of action in the Complaint.

   15        13.    This is an action for misappropriation of trade secrets, civil
   16 conspiracy, trade libel, trademark infringement, false advertising and unfair

   17 competition, under federal and state law against Defendants.

   18        14.    Defendant MDM competes directly against DMM's business in the
   19 online website services and website marketing market. Rather than compete fairly,

   20 Defendant MDM, its officers, agents, and employees are engaged in an unfair and

   21 deceptive campaign to convince customers of the online website services and

   22 website marketing market to terminate business relations with Plaintiff or not

   23 engage in any business with them at all, to steal customers from DMM by

   24 deceptive marketing, and to cause consumer confusion by using a business name

   25 similar to DMM's name.

   26        15.    Defendant Hoffman was and is at all times relevant an officer,
   27 employee, and agent of MDM and MDG. Upon information and belief and

   28 thereupon so alleged, Hoffman authorized, directed, approved of, and engaged in
                                                 -6-
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    1 the acts complained herein on his own behalf as well as on behalf of MDM and

    2 MDG.

    3         16.    Defendants have embarked in an unlawful campaign to convince
    4 potential and actual clients to stop using Plaintiff's services or be Plaintiff's clients

    5 alleging that Plaintiff's services are inferior, Plaintiff is untrustworthy, Plaintiff is

    6 not modern, and Plaintiff engages in deceptive marketing practices. Such

    7 allegations are maliciously false. Defendants further have recruited or tried to

    8 recruit former or present employees of Plaintiff not only to persuade them to quit

    9 working for Plaintiff and work for MDM, but also to persuade and pay former and

   10 current employees of Plaintiff to misappropriate Plaintiff's Trade Secrets so that

   11 MDM can unfairly use them in its business.

   12         17.    Defendants' unlawful conduct is causing and will continue to cause
   13 harm to Plaintiff. On information and belief, Plaintiff has lost sales and

   14 relationships with its clients as a result of Defendants' conduct and campaign of

   15 deception. This conduct, if not enjoined, will cause irreparable harm to Plaintiff's

   16 business relationships.

   17                              GENERAL ALLEGATIONS
   18                    RELEVANT TO ALL CAUSES OF ACTION
   19         18.    Plaintiff incorporates as though fully set forth herein the allegations
   20 contained above in Paragraphs 1 through 17 of this Complaint as well as all

   21 allegations stated below in each cause of action in the Complaint.

   22                                       Doctor Multimedia
   23         19.    Gopher Media LLC was formerly known as Local Clicks.
   24         20.    Doctor Multimedia is the dba of Gopher Media LLC.
   25         21.    Doctor Multimedia is a digital marketing agency which provides
   26 marketing and social media services to professionals including, medical doctors,

   27 dentists, and others. It helps small businesses grow their online presence through

   28 paid and organic search enhancement. It gives small practices a bigger footprint on
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    1 the world-wide web. Doctor Multimedia handles social media and reputation

    2 management, website content creation, email marketing, and SEO optimization for

    3 medical and veterinary professionals.

    4        22.    Doctor Multimedia also handles the management of their clients’ Pay
    5 Per Click (PPC) campaigns and Search Engine Optimization (SEO) efforts, to help

    6 their business grow online while allowing the busy professional to focus on the

    7 countless other challenges they face. Services include taking care of the research,

    8 building, optimizing, and analyzing a client’s web presence and then suggesting

    9 ways to increase that presence.

   10        23.    As part of their business, Plaintiff has generated trade secrets ("Trade
   11 Secrets") and confidential and proprietary information that are the property of

   12 Plaintiff. All of Plaintiff's Trade Secrets were and are highly confidential. Plaintiff's

   13 Trade Secrets include but are not limited to the proprietary, confidential information

   14 related to its pricing information; website design strategies, sales presentation

   15 information; sales strategies; marketing strategies; client lists; convention and

   16 meeting events list(s); sales scripts; knowledge of who the key employees are within

   17 the companies of their clients or potential clients; and, information concerning the

   18 existence, status, and/or the substance of confidential business discussions between

   19 Plaintiff and potential or actual clients.

   20        24.    Plaintiff's information concerning its clients and prospective clients
   21 contained within its client lists (“Client Lists") is highly confidential Trade Secret

   22 information. Plaintiff's Client Lists include information such as the identity of key

   23 decision makers, among other things. Plaintiff has devoted labor and an extensive

   24 amount of time cultivating its clients, developing client relationships, and marketing

   25 their businesses and services to their highly competitive, niche industries. Plaintiff

   26 has expended time and money developing their Client Lists and the confidential

   27 information contained therein.

   28        25.    Plaintiff has expended time and money developing its websites, website
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    1 strategies, marketing strategies, business plans, and the confidential information

    2 contained therein and/or related thereto.

    3        26.    All of Plaintiff's Trade Secret information to include but not limited to
    4 their Client Lists was not intended to be disclosed outside of Doctor Multimedia.

    5 Doctor Multimedia keeps such information highly confidential, does not release it

    6 to the public, and took reasonable steps to safeguard this information from

    7 disclosure. These pieces of confidential, proprietary information had independent

    8 economic      value    as    they    reflected    the   service    needs,    technical
    9 specifications/information, and pricing terms, among other things, for Doctor

   10 Multimedia and/or its clients as well as potential clients. They also revealed Doctor

   11 Multimedia's strategic and proprietary information.

   12                                             Hoffman
   13        27.    Hoffman previously worked for Plaintiff. Hoffman was terminated for
   14 poor job performance, poor attitude, and poor work ethic which occurred for over

   15 an 8 month span.

   16        28.    Hoffman later filed a lawsuit against Plaintiff. That lawsuit was settled
   17 and two settlement agreements (collectively "Settlement Agreement") were entered

   18 into by Hoffman and Plaintiff on or about February 15, 2021. Hoffman prior to the

   19 settlement, during settlement negotiations or prior to the settlement agreement being

   20 finalized or executed, intentionally failed to disclose that he had started one or more

   21 competing businesses to include MDM and MDG.

   22        29.    Upon information and belief and thereupon so alleged, Hoffman first
   23 started MDM and MDG a few months prior to entering the on or about November

   24 2, 2020. Upon information and belief and thereupon so alleged, he registered MDG

   25 with the California Secretary of State on or about November 2, 2020 (but did not

   26 register MDM).

   27        30.    Upon information and belief and thereupon so alleged, Hoffman
   28 intentionally and fraudulently hid this information from Plaintiff so that Plaintiff
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     1 would be induced by fraud to enter into the settlement agreement. If Plaintiff had

     2 known that Hoffman had started one or more competing entities to include MDM

     3 and MDG, Plaintiff would have never entered into the Settlement Agreement.

     4        31.      Hoffman now lists and represents himself as the CEO of MDM and
     5 agent of MDG.

     6        32.      Upon information and belief and thereupon so alleged, Hoffman has
     7 breached the Settlement Agreement.

     8        33.      Among other things, Hoffman represented and warranted that he had
     9 no desire to solicit Plaintiff's customers/clients or injure Plaintiff’s business.

    10 Accordingly, Hoffman agreed that he would not affirmatively or actively solicit

    11 business away from Plaintiff, but may continue to conduct business in the normal

    12 course. Hoffman also agreed that he would not directly or indirectly, affirmatively

    13 or actively, solicit known clients of Plaintiff to do business with them.

    14        34.      Hoffman also agreed that he would not engage in any disparagement of
    15 Plaintiff, whether it be by written or oral communication, directly or indirectly. He

    16 further agreed that he would not suggest that Plaintiff's employees, friends or

    17 associates write disparaging reviews or comments about the other or their counsel,

    18 on-line, on social media or otherwise.

    19        35.      Hoffman also agreed to keep the terms of the Settlement Agreement
    20 confidential.

    21        36.      Upon information and belief and thereupon so alleged, Hoffman has
    22 breached the Settlement Agreement repeatedly by: 1) actively soliciting current

    23 clients of Plaintiff on behalf of MDM; 2) disparaged Plaintiff, its officers, agents,

    24 and its employees; and, 3) disclosing matters agreed to be kept confidential to

    25 include the terms of the Settlement Agreement.

    26                                            MDM
    27        37.      Upon information and belief and thereupon so alleged, MDM and
    28 DMM are competitors that operate in the highly competitive online healthcare
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     1 services and/or online website services and website/design marketing market.

     2         38.    Upon information and belief and thereupon so alleged, MDM
     3 routinely engages in an intentional, deliberate practice of disparaging and libeling

     4 its competitors or anyone it believes may or does compete with it.

     5         39.    Upon information and belief and thereupon so alleged, MDM has and
     6 continues to target Doctor Multimedia customers to steal them from Plaintiff using

     7 the Trade Secrets, money, assets, strategies, ideas, website designs, website design

     8 plans/strategies, marketing strategies and/or property of Doctor Multimedia to do

     9 so.

    10         40.    Defendants are cybersquatters. They exploit and profit from an
    11 Internet domain name that is confusingly similar to Plaintiff’s famous and

    12 distinctive trademark to trick consumers, clients, and potential clients into visiting

    13 Defendants’ website and utilize Defendants' services. Defendants' website

    14 misappropriates Plaintiff's trademarks and use other deceptive tactics to suggest,

    15 falsely, that the website and the commercial activities carried on at that website is

    16 connected to Plaintiff.

    17         41.    Defendants make money by luring unsuspecting consumers to their
    18 website and buying services sold on Defendants’ website. Defendants’ schemes

    19 succeed largely because consumers are deceived into believing they are dealing

    20 with Plaintiff or entities affiliated with Plaintiff.

    21         42.    Defendants’ schemes infringe on Plaintiff’s famous and distinctive
    22 trademark and name and confuse the consuming public with respect to whether

    23 Defendants and their commercial activities are associated with Plaintiff.

    24         43.    Defendants’ schemes also diminish the goodwill associated with
    25 Plaintiff and its marks, injure Plaintiff’s reputation, interfere with Plaintiff’s

    26 business, and unjustly enrich Defendants.

    27         44.    Defendants own and operate a website address located at
    28 https://moderndocmedia.com. This domain was registered on August 26, 2020.
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     1 Defendants use this website to market, sell, and do business with the public and to

     2 compete with DMM.

     3        45.    On this website, Defendants refer to themselves as "Modern Doc
     4 Media." Upon information and belief and thereupon so alleged, Defendants do this

     5 in order to mislead the public and confuse consumers into believing MDM is the

     6 same company as "Doctor Multimedia," is affiliated with "Doctor Multimedia,"

     7 and/or is related to "Doctor Multimedia." Upon information and belief and

     8 thereupon so alleged, Defendants have done this in order to deceptively divert

     9 website traffic, consumers, and potential or actual clients of Plaintiff to MDM so

    10 that MDM can steal and take away clients and/or business from Plaintiff. Upon

    11 information and belief and thereupon so alleged, this strategy of deception and

    12 consumer confusion has resulted in at least 4 of Plaintiff's actual clients ending

    13 their contracts with Plaintiff in favor of MDM. MDM has adopted a misleading

    14 use of words or names to identify its business and services offered in order to re-

    15 direct those consumers searching for Doctor Multimedia to MDM and to confuse

    16 consumers that they are doing business with Doctor Multimedia.

    17        46.    Upon information and belief and thereupon so alleged, Hoffman and
    18 unknown officers, employees and authorized agents ("Unknown Agents of MDM")

    19 of MDM set up, built, operate, and run MDM using the Trade Secrets, intellectual

    20 property, assets, money, marketing strategies website designs, website design

    21 strategies, proprietary information, business plans, and confidential information of

    22 Plaintiff. The Unknown Agents of MDM are sued herein as Does 1-10 and/or as

    23 the alter egos of Defendants to include MDM.

    24        47.    Upon information and belief, Hoffman and Unknown Agents of
    25 MDM misappropriated trade secrets of Plaintiff which they now use to the benefit

    26 of themselves and MDM.

    27        48.    Upon information and belief, Hoffman and Unknown Agents of
    28 MDM created MDM with the intention to compete directly with Plaintiff, using the
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     1 trade secrets of Plaintiff and a trade name/business name intentionally similar to

     2 "Doctor Multimedia" to do so.

     3        49.    By incorporating the terms "doc" (as in "doctor") and "media" (short
     4 for multimedia/similar to), MDM, upon information and belief, clearly intended

     5 and intends to have consumers in the highly competitive, niche market that MDM

     6 and Plaintiff compete in to make a false or erroneous connection between MDM

     7 and Doctor Multimedia. The likelihood of confusion between the two names,

     8 "Doctor Multimedia" and "Modern Doc Media" by consumers in this highly

     9 competitive, niche industry is great in light of the great similarity of the names of

    10 the two businesses. This is particularly so if consumers do a search for the domain

    11 names of both companies: https://moderndocmedia.com and

    12 https://doctormultimedia.com/

    13        50.    Clients, the ability of Plaintiff to maintain the confidentiality of their
    14 clients, its unique trademark and name, and its reputations are all key to Plaintiff's

    15 success in its highly competitive business.

    16        51.    In an attempt to harm Plaintiff and steal their clients, MDM through
    17 its employees including but not limited to the Unknown Agents of MDM, have and

    18 continue to make false and disparaging statements concerning Plaintiff. Indeed,

    19 the name "Modern Doc Media" is meant to suggest that MDM is a more modern,

    20 newer, and/or better version of "Doctor Multimedia."

    21        52.    In an attempt to harm Plaintiff and steal their clients, MDM through
    22 its employees including but not limited to the Unknown Agents of MDM, have

    23 used the similar trade name/business name "Modern Doc Media" in order to

    24 confuse consumers, confuse the public, and divert website traffic away from

    25 "Doctor Multimedia" and its website.

    26        53.    Upon information and belief and thereupon so alleged, MDM
    27 routinely enlists its agents, officers and employees to make disparaging, false, and

    28 libelous statements about Plaintiff to potential or actual clients of Plaintiff. Upon
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     1 information and belief and thereupon so alleged, part of MDM's marketing strategy

     2 and client retention strategy is to routinely engage in such conduct so that clients

     3 will end their business with Plaintiff or will not become Plaintiff's clients in the

     4 first place.

     5         54.      Plaintiff is informed and believes that MDM and other MDM
     6 employees at the direction and behest of MDM routinely make false and

     7 defamatory statements about Plaintiff to cast Plaintiff's business in a bad light and

     8 tarnish their image and value.

     9         55.      Defendants and each of them agreed to commit the acts alleged herein
    10 by planning and forming a conspiracy to commit the acts alleged herein.

    11         56.      Plaintiff believe that at all times mentioned herein, each wrongful act
    12 by Defendants as alleged were done in furtherance of a common design, plan and

    13 scheme. Accordingly, each Defendant conspirator is liable, regardless of the degree

    14 of his or her or its activity or relative culpability.

    15         57.      As a direct and proximate result of Defendants’ conspiracy to commit
    16 that acts alleged herein, Plaintiff has been damaged in an amount to be proven at the

    17 time of trial.

    18                       GENERAL ALLEGATIONS ALL DEFENDANTS
    19         58.      The acts of the Defendants are malicious and done with intent to cause
    20 injury to Plaintiff. Their conduct as alleged herein evidences a conscious and

    21 willful disregard for the rights of Plaintiff. Such conduct being wanton, and

    22 malicious entitles Plaintiff to an award of punitive and exemplary damages in an

    23 amount to be proven at trial with respect to those causes of action that allow for

    24 such damages to be so awarded under the law.

    25         59.      Plaintiff has lost clients, profits, business, goodwill, and suffered other
    26 damages as result of the conduct of Defendants. Plaintiff has been damaged in

    27 amount of $7 million or more according to proof at time of trial.

    28         60.      Defendants' intentional actions alleged were and are designed to induce
                                                     -14-
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     1 Plaintiff's clients and key employees to breach their agreements with DMM and/or

     2 disrupt Plaintiff's business and dealings with its clients as well as its key employees.

     3        61.    Upon information and belief, Defendants have convinced, inspired, and
     4 caused Plaintiff's former and/or current key employees to actually violate their

     5 employment agreements with Plaintiff and/or the policies, rules, procedures, and

     6 protocols of Plaintiff by, among other things, diverting time from working for

     7 Plaintiff in order to assist Defendants: 1) solicit business from Plaintiff's clients for

     8 themselves and Plaintiff's competitor, MDM; 2) solicit business from Plaintiff's

     9 prospective clients for themselves and Plaintiff's competitor, MDM; 3) replicate,

    10 misappropriate, and use confidential Plaintiff's Trade Secrets, ideas, business plan,

    11 and marketing strategies so that Defendants and Plaintiff's competitor MDM can

    12 acquire Plaintiff's clients and directly compete with Plaintiff; 4) encourage Plaintiff's

    13 clients to no longer work with Plaintiff; 5) encourage Plaintiff's clients to delay or

    14 halt using Plaintiff's services; and, 6) convince the public, consumers, and Plaintiff's

    15 actual or potential clients that "Modern Doc Media" is affiliated with, related to or

    16 the same as "Doctor Multimedia."

    17        62.    Upon information and belief and thereupon alleged, the Doe
    18 Defendants to the Unknown Agents of MDM secretly, and in violation of their legal,

    19 equitable and contractual obligations to Plaintiff, have and continue to solicit

    20 Plaintiff's clients in violation of the law and their contractual obligations.

    21        63.    Plaintiff has lost clients, profits, business, goodwill, and suffered other
    22 damages as result of the conduct of Defendants. Plaintiff has been damaged in

    23 amount of $7 million or more according to proof at time of trial.

    24        64.    Defendants' conduct constitutes a breach of contract and violates the
    25 Defend Trade Secrets Act (“DTSA”), 18 U.S.C. § 1836, et seq. and the California

    26 Uniform Trade Secrets Act.

    27                             FIRST CAUSE OF ACTION
    28                   MISAPPROPRIATION OF TRADE SECRETS
                                                  -15-
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     1                          (Under 18 U.S.C. §§ 1836, et seq. )
     2                                (ALL DEFENDANTS)
     3        65.    Plaintiff incorporates as though fully set forth herein the allegations
     4 contained above in Paragraphs 1 through 64 of this Complaint as well as all

     5 allegations stated below in each cause of action in the Complaint.

     6        66.    The DTSA provides for a private right of action. 18 U.S.C. §
     7 1836(b)(1).

     8        67.    As explained herein, Plaintiff own or have the right to use, enforce, and
     9 defend the trade secret information. As part of their business, Plaintiff has generated

    10 Trade Secrets as alleged above that are Plaintiff confidential and proprietary

    11 information. The Trade Secrets are the property of Plaintiff. All of the Plaintiff's

    12 Trade Secrets were and are highly confidential.

    13        68.    All of the Plaintiff's Trade Secrets were and are highly confidential.
    14 Plaintiff's Trade Secrets include but are not limited to the proprietary, confidential

    15 information related to its pricing information; sales presentation information; sales

    16 strategies; marketing strategies; client lists; convention and meeting events list(s);

    17 selling scripts; knowledge of who the key employees were; and, information

    18 concerning the existence, status, and/or the substance of confidential business

    19 discussions between Plaintiff and potential or actual customers.

    20        69.    This information was not intended to be disclosed outside of Plaintiff's
    21 businesses. Plaintiff keep such information highly confidential, does not release it

    22 to the public, and took reasonable steps to safeguard this information from

    23 disclosure.

    24        70.    These pieces of information had independent economic value as they
    25 reflected the customer service needs, customer information, business strategies,

    26 marketing strategies, and pricing terms, among other things, for Plaintiff. They also

    27 revealed Plaintiff's strategic and proprietary information.

    28        71.    Plaintiff's Trade Secrets and confidential and proprietary business and
                                                 -16-
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     1 customer information derive substantial, independent economic value from not

     2 being generally known to the public or to its competitors, who could obtain

     3 economic value from the information.

     4        72.    Plaintiff has expended substantial financial and human resources to
     5 develop this information, which cannot be easily acquired or replicated by others.

     6        73.     Plaintiff has taken reasonable steps under the circumstances to
     7 safeguard the confidentiality and secrecy of their trade secrets and confidential

     8 information. Plaintiff has taken reasonable measures to preserve such trade secret

     9 information regarding their trade secrets. The information embodying the trade

    10 secret derives independent economic value, actual or potential, from not being

    11 generally known or ascertainable through proper means.

    12        74.    Among other things, Plaintiff has required employees to sign
    13 agreements and/or conform to policies that include confidentiality provisions and

    14 protecting the Trade Secrets, proprietary information, and confidential information

    15 of Plaintiff. Plaintiff has instructed their employees to not disclose internal

    16 information to third parties. Plaintiff has taken security measures and other measures

    17 to protect their Trade Secrets and confidential information in electronic and hard-

    18 copy formats.

    19        75.    Unknown Agents of MDM agreed to and acknowledged contracts and
    20 policies that include confidentiality and non-disclosure provisions.

    21        76.    Plaintiff's Trade Secrets and confidential information are valuable and
    22 important to the operation of its business.

    23        77.    Plaintiff's Trade Secrets and confidential information are not known to
    24 competitors, and not readily ascertainable through proper means by competitors.

    25 Competitors could profit from the use or disclosure thereof. Plaintiff's Trade Secrets

    26 are related to a service used in, or intended for use in, interstate or foreign commerce.

    27 18 U.S.C. § 1836(b)(1). Plaintiff has used its Trade Secrets to include but not limited

    28 to its Client Lists to obtain customers and provide their services across state lines.
                                                  -17-
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     1         78.   Unknown Agents of MDM at the behest of MDM improperly disclosed
     2 Plaintiff's Trade Secret information to MDM and others. Defendants to include

     3 Unknown Agents of MDM and MDM misused Plaintiff's Trade Secret information

     4 to try to secure business for themselves and MDM, which business crossed and

     5 continues to cross state lines.

     6         79.   Defendants have engaged in multiple independent violations of the
     7 DTSA. Defendants unlawfully misappropriated the Plaintiff's Trade Secrets by

     8 improperly using Plaintiff's Trade Secret information for their own personal benefit

     9 and/or to injure and/or steal the business and ideas and website designs of Plaintiff.

    10         80.   Defendants’ unlawful acquisition of the trade secret information was
    11 intended to and did commercially benefit Defendants and/or commercially injure

    12 Plaintiff. Defendants continued and continue to use Plaintiff's Trade Secret

    13 information for their own personal benefit, for the benefit of MDM or other third

    14 parties, and/or to injure Plaintiff.

    15         81.   Plaintiff are informed and believes that Defendants' have and continue
    16 to use Plaintiff's Trade Secrets and confidential information for their benefit as well

    17 as that of MDM without Plaintiff's consent. Unknown Agents of MDM were

    18 recruited, compensated, and encouraged by Defendants and/or MDM to breach their

    19 duties to Plaintiff to maintain Plaintiff's trade secret secrecy and disclose Plaintiff's

    20 Trade Secrets to MDM for its benefit.

    21         82.   Unknown Agents of MDM had access to Plaintiff's Trade Secrets by
    22 virtue of their employment and/or business relationship with DMM.

    23         83.   Defendants improperly misappropriated and accessed confidential
    24 Plaintiff's trade secret information in violation of the Defend Trade Secrets Act

    25 (“DTSA”), 18 U.S.C. § 1836, et seq. The information that Defendants to include

    26 Unknown Agents of MDM stole at the behest of MDM is information that Plaintiff

    27 keeps highly confidential and which is not released to or available to the general

    28 public. More specifically, Defendants and Unknown Agents of MDM at MDM's
                                                  -18-
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     1 behest misappropriated, acquired through inappropriate means, and used the Trade

     2 Secrets of Plaintiff to the advantage of Plaintiff's direct competitor MDM.

     3         84.    On information and belief, Defendants inappropriately used highly
     4 confidential Plaintiff's Trade Secret information without Plaintiff's consent to,

     5 among other things, obtain new customers and/or take away customers from

     6 Plaintiff; to steal the website designs and/or ideas related the website designs of

     7 Plaintiff's websites; to modify its sales strategy; to lure key employees away from

     8 Plaintiff to work with MDM all to the economic advantage of Defendants. Upon

     9 information and belief, Defendants did this in order to unfairly take business away

    10 from Plaintiff and to prevent Plaintiff from being able to fairly compete in its

    11 markets.

    12         85.    The information which the Defendants took has never been publicly
    13 disclosed or made available publicly by Plaintiff. Defendants knew or had reason to

    14 know that the Plaintiff's Trade Secrets that were acquired as alleged herein

    15 constituted or contained protectable trade secrets in that the information had

    16 independent economic value, was not generally known to the public or to others who

    17 could have obtained economic value from the disclosure or use of the information,

    18 and was the subject of reasonable efforts by Plaintiff to ensure the secrecy of such

    19 information.

    20         86.    At the time of disclosure or use of Plaintiff's Trade Secrets, Defendants'
    21 knew or had reason to know that their knowledge of the trade secret was: (i) derived

    22 from or through a person who had utilized improper means to acquire it; or (ii)

    23 acquired under circumstances giving rise to a duty to maintain its secrecy or limit its

    24 use; or (iii) derived from or through a person who owed a duty to the person seeking

    25 relief to maintain its secrecy or limit its use.

    26         87.    If Defendants are permitted to continue to unfairly compete with
    27 Plaintiff as described herein, they will continue to use the Plaintiff's Trade Secrets

    28 and confidential information to their advantage, and/or to the advantage of
                                                   -19-
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     1 competitors to include but not limited to MDM and to the irreparable detriment of

     2 Plaintiff.

     3        88.      Upon information and belief, Defendants' actions and conduct were
     4 willful and malicious, and in conscious disregard of the rights of Plaintiff.

     5        89.      By reason of Defendants' violations of the Defend Trade Secrets Act,
     6 18 U.S.C. §§ 1836 et seq. and related statutes, Plaintiff faces immediate, substantial,

     7 and irreparable harm for which there is no adequate remedy at law.

     8        90.      As a direct and proximate result of Defendants' violations of the federal
     9 Defend Trade Secrets Act, 18 U.S.C. §§ 1836 et seq., Plaintiff has sustained and will

    10 continue to sustain irreparable injury, the damages from which cannot now be

    11 calculated precisely, but which exceed $75,000 and are estimated to be $7 million

    12 or more. Accordingly, Plaintiff is entitled to a temporary restraining order and a

    13 preliminary injunction, compensatory and exemplary damages, and attorneys’ fees.

    14                             SECOND CAUSE OF ACTION
    15                    MISAPPROPRIATION OF TRADE SECRETS
    16                     (Under California Uniform Trade Secrets Act)
    17                                  (ALL DEFENDANTS)
    18        91.      Plaintiff incorporates as though fully set forth herein the allegations
    19 contained above in Paragraphs 1 through 90 of this Complaint as well as all

    20 allegations stated below in each cause of action in the Complaint.

    21        92.      As part of its business, Plaintiff has generated Trade Secrets as alleged
    22 above that are Plaintiff's confidential and proprietary information. The Trade Secrets

    23 are the property of Plaintiff. All of the Plaintiff's Trade Secrets were and are highly

    24 confidential.

    25        93.      All of the Plaintiff's Trade Secrets were and are highly confidential.
    26 Plaintiff's Trade Secrets include but are not limited to the proprietary, confidential

    27 information related to their pricing information; sales presentation information; sales

    28 strategies; marketing strategies; client lists; convention and meeting events list(s);
                                                   -20-
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     1 selling scripts; knowledge of who the key employees were; and, information

     2 concerning the existence, status, and/or the substance of confidential business

     3 discussions between Plaintiff and potential or actual customers.

     4        94.     This information was not intended to be disclosed outside of Plaintiff's
     5 business. Plaintiff keeps such information highly confidential, does not release it to

     6 the public, and took reasonable steps to safeguard this information from disclosure.

     7        95.     These pieces of information had independent economic value as they
     8 reflected the customer service needs, website design strategies, customer

     9 information, business strategies, marketing strategies, and pricing terms, among

    10 other things, for Plaintiff. They also revealed Plaintiff's confidential strategic and

    11 proprietary information.

    12        96.     Unknown Agents of MDM had access to Plaintiff's Trade Secrets by
    13 virtue of their employment and business relationships with Plaintiff. Defendants

    14 unlawfully gained access to this information from Unknown Agents of MDM at

    15 MDM's behest for the benefit of MDM and the other Defendants.

    16        97.     Defendants improperly misappropriated and accessed confidential
    17 Plaintiff's trade secret information in violation of the California Uniform Trade

    18 Secrets Act.

    19        98.     The information that Defendants stole is information that Plaintiff
    20 keeps highly confidential and which is not released to or available to the general

    21 public.   More specifically, Defendants misappropriated, acquired through
    22 inappropriate means, and used the Trade Secrets of Plaintiff to the advantage of

    23 Defendants.

    24        99.     On information and belief, Defendants inappropriately used highly
    25 confidential Plaintiff's Trade Secret information without Plaintiff's consent to,

    26 among other things, obtain new customers and/or take away customers from

    27 Plaintiff; to modify its sales strategy; to modify its business negotiations; to lure key

    28 employees away from Plaintiff to work with MDM all to the economic advantage of
                                                  -21-
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     1 Defendants and MDM. Upon information and belief, Defendants did this in order

     2 take business away from Plaintiff and to prevent Plaintiff from being able to compete

     3 in its business markets.

     4         100. The information which the Defendants took has never been publicly
     5 disclosed or made available publicly by Plaintiff.

     6         101. Defendants knew or had reason to know that the Plaintiff's Trade
     7 Secrets that were acquired as alleged herein constituted or contained protectable

     8 trade secrets in that the information had independent economic value, was not

     9 generally known to the public or to others who could have obtained economic value

    10 from the disclosure or use of the information, and was the subject of reasonable

    11 efforts by Plaintiff to ensure the secrecy of such information.

    12         102. At the time of disclosure or use of Plaintiff's Trade Secrets, Defendants'
    13 knew or had reason to know that their knowledge of the trade secret was: (i) derived

    14 from or through a person who had utilized improper means to acquire it; or (ii)

    15 acquired under circumstances giving rise to a duty to maintain its secrecy or limit its

    16 use; or (iii) derived from or through a person who owed a duty to the person seeking

    17 relief to maintain its secrecy or limit its use.

    18         103. Defendants knew or had reason to know that the Plaintiff's Trade
    19 Secrets they used and misappropriated were trade secrets that did not belong to them

    20 and that knowledge of them had not been acquired by accident or mistake.

    21         104. Defendants will continue to misappropriate Plaintiff's Trade Secrets to
    22 their own economic benefit by the wrongful disclosure and use of such information,

    23 without the consent of Plaintiff while knowing or having reason to know that they

    24 had acquired the Plaintiff's Trade Secrets under circumstances giving rise to a duty

    25 on their part to maintain their secrecy.

    26         105. As a proximate result of Defendants' acts of misappropriation and use
    27 of Plaintiff's Trade Secrets, Plaintiff has suffered damages to date based on, among

    28 other things, loss of goodwill, damage to its business reputation, and expenses
                                                   -22-
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     1 incurred in their efforts to remedy the effects of Defendants' unlawful conduct, in an

     2 amount believed to be $7 million or more.

     3        106. Plaintiff has been harmed by the conduct of Defendants. The
     4 misappropriation of Plaintiff's Trade Secrets by Defendants gave and gives them a

     5 substantial and unfair competitive advantage over Plaintiff. Investigation is

     6 continuing, and the full extent of Plaintiff's harm will be determined at trial.

     7        107. Plaintiff is informed and believes, and based thereon alleges, that
     8 Defendants have acted with oppression, fraud, and/or malice, and have deliberately

     9 caused and have intended to cause great economic harm to Plaintiff with full

    10 knowledge of the wrongfulness of their conduct.

    11        108. Plaintiff is further informed and believes, and based thereon alleges,
    12 that Defendants' conduct as alleged above was despicable, was carried on by

    13 Defendants with a willful and conscious disregard of Plaintiff's rights, and subjected

    14 Plaintiff to unjust hardship. Therefore, Plaintiff should be awarded punitive and

    15 exemplary damages sufficient to punish Defendants for engaging in this conduct and

    16 to deter similar conduct on their part in the future. Defendants acted with malice,

    17 oppression and in conscious disregard of, and with deliberate difference to the harm

    18 their conduct might cause, and punitive damages are necessary to deter them from

    19 similar conduct in the future.

    20        109. By reason of Defendants' violations of the California Uniform Trade
    21 Secrets Act, Plaintiff face immediate, substantial, and irreparable harm for which

    22 there is no adequate remedy at law.

    23        110. As a direct and proximate result of Defendants' violations of the
    24 California Uniform Trade Secrets Act, Plaintiff has sustained and will continue to

    25 sustain irreparable injury, the damages from which cannot now be calculated.

    26 Accordingly, Plaintiff is entitled to a temporary restraining order and a preliminary

    27 injunction, compensatory and exemplary damages, and attorneys’ fees.

    28                            THIRD CAUSE OF ACTION
                                                 -23-
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     1                         UNFAIR BUSINESS PRACTICES
     2                                (ALL DEFENDANTS)
     3        111. Plaintiff incorporates as though fully set forth herein the allegations
     4 contained above in Paragraphs 1 through 110 of this Complaint as well as all

     5 allegations stated below in each cause of action in the Complaint.

     6        112. By the acts alleged in the preceding paragraphs, Defendants have
     7 committed business acts and practices that are “unlawful” and “unfair” in violation

     8 of the Unfair Competition Law (“UCL”), Business & Professions Code§ 17200 et

     9 seq.

    10        113. Specifically, without Plaintiff's consent, Defendants illegally acquired
    11 and used for themselves Plaintiff's confidential and proprietary business information

    12 to undercut Plaintiff in its highly competitive business market. Such acts impair fair

    13 and honest competition and otherwise significantly harms competition in the market

    14 for Plaintiff's services. Defendants have used the money, intellectual property,

    15 assets, property, Trade Secrets, website designs, business plans, and marketing

    16 strategies that they embezzled, converted, stole, and/or misappropriated from

    17 Plaintiff to start, create, build, and market MDM, its business, and its website.

    18        114. Further, Defendants have and continue to use a very similar name to
    19 that of Doctor Multimedia—"Modern Doc Media"—in order to cause confusion to

    20 consumers and the public between the two companies; in order to divert and steal

    21 business away from Plaintiff; and in order to falsely lead consumers, clients and

    22 the public into believing that MDM is affiliated, related, and/or the same as

    23 "Doctor Multimedia."

    24        115.   Defendants engaged in unlawful, fraudulent and unfair business acts
    25 and practices. Such acts and practices include, but are not limited to, wrongfully

    26 depriving Plaintiff of their rightful ownership interests in their money, intellectual

    27 property, assets, property, Trade Secrets, website designs, business plans, and

    28 marketing strategies.
                                                 -24-
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     1        116. Defendants’ business acts and practices were unlawful and fraudulent
     2 in that a reasonable person would likely be deceived by their material concealment

     3 and in that Defendants have unlawfully and fraudulently deprived Plaintiff of its

     4 rightful ownership interests in their money, intellectual property, assets, property,

     5 Trade Secrets, website designs, business plans, and marketing strategies.

     6        117. Defendants' business acts as alleged herein were unfair in that the
     7 substantial harm suffered by Plaintiff outweighs any justification that Defendants

     8 may have for engaging in those acts and practices.

     9        118. Plaintiff will be denied effective and complete remedy absent the relief
    10 requested herein. Plaintiff has suffered and continues to suffer irreparable harm as

    11 a result of the activities alleged herein that cannot be adequately remedied at law

    12 unless Defendants and all persons acting with them, or on their behalf, are enjoined

    13 from engaging in further such acts of unfair competition.

    14        119. Such acts impair fair and honest competition and otherwise
    15 significantly harms competition in the market for Plaintiff's services.

    16        120. Defendants have been unjustly enriched by such unlawful and unfair
    17 practices and in addition to all other relief available should be made to account to

    18 Plaintiff for their profits and disgorge the same to Plaintiff.

    19        121. Plaintiff has been harmed as a result of Defendants’ unlawful, unfair
    20 and fraudulent business acts and practices. Plaintiff is entitled to (a) recover

    21 restitution, including without limitation, all benefits that Defendants received as a

    22 result of the unlawful, unfair or fraudulent business acts and practices and (b) an

    23 injunction restraining Defendants from engaging in further acts of unfair

    24 competition, as alleged herein.

    25        122. Defendants’ acts of unfair competition has rendered Plaintiff incapable
    26 of being able to fairly compete for business in their business market(s). As a result,

    27 Plaintiff has lost and continue to lose business and opportunities that they otherwise

    28 could have obtained to the detriment of Plaintiff and consumers at large who were
                                                  -25-
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     1 deprived of the value pricing opportunities that Plaintiff could have delivered

     2 through open and free channels of business.

     3                           FOURTH CAUSE OF ACTION
     4                 FALSE ADVERTISING UNDER SECTION 43(a)
     5                               OF THE LANHAM ACT
     6                                (ALL DEFENDANTS)
     7        123. Plaintiff incorporates as though fully set forth herein the allegations
     8 contained above in Paragraphs 1 through 122 of this Complaint as well as all

     9 allegations stated below in each cause of action in the Complaint.

    10        124. The Lanham Act, 15 U.S.C.A. § 1125(a)(1)(B), prohibits the use in
    11 commercial advertising or promotions of “any word, term, name, symbol or

    12 device, or any combination thereof, or any … false or misleading description of

    13 fact, or false or misleading representation of fact” that “misrepresents the nature,

    14 characteristics, qualities, or geographic origin of his or her or another person’s

    15 goods, services, or commercial activities.” The Lanham Act also authorizes “any

    16 person who believes that he or she is or is likely to be damaged by” such a

    17 violation to file a civil action for an injunction and compensatory damages.

    18        125. Defendants, in connection with goods and services distributed in
    19 commerce, has made and is continuing to make false, deceptive and misleading

    20 descriptions and representations of fact in commercial advertising and promotion,

    21 which misrepresent the nature, characteristics and qualities of Plaintiff's goods,

    22 services and commercial activities, in violation of 15 U.S.C.A. §§ 1125(a).

    23        126. Further, Defendants have and continue to use a very similar name to
    24 that of Doctor Multimedia—"Modern Doc Media"—in order to cause confusion to

    25 consumers and the public between the two companies; in order to divert and steal

    26 business away from Plaintiff; and in order to falsely lead consumers, clients and

    27 the public into believing that MDM is affiliated, related, and/or the same as

    28 "Doctor Multimedia."
                                                 -26-
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     1        127. These violations have injured and will continue to injure Plaintiff and
     2 the public, causing deception, confusion and damage in an amount that cannot

     3 presently be ascertained.

     4        128. Defendants have and will violate 15 U.S.C.A. §§ 1125(a) by
     5 misrepresenting the nature, characteristics, and qualities of Plaintiff's services and

     6 business.

     7        129.    These statements have all been made in interstate commerce.
     8        130.    These misrepresentations are material and are reasonably relied on by
     9 potential or actual clients seeking the type of services provided by Plaintiff. These

    10 representations will cause potential or actual clients of Plaintiff to not do business

    11 with Plaintiff. The misrepresentations are also intended to cause clients to do

    12 business with MDM instead of Plaintiff. These misrepresentations have harmed

    13 and will harm Plaintiff in terms of lost revenue and goodwill.

    14        131.    Plaintiff therefore are entitled, under the Lanham Act, to an
    15 injunction and damages.

    16        132. Defendants' acts of false advertising and unfair competition have
    17 caused irreparable injury to Plaintiff and, unless restrained, will cause further

    18 irreparable injury, leaving Plaintiff with no adequate remedy at law.

    19        133. By reason of the above, Plaintiff is entitled to permanent injunctive
    20 relief against Defendants restraining further acts of false advertising and unfair

    21 competition and requiring Defendants to correct its false and misleading

    22 statements, and to recover damages caused by reason of Defendants' acts in an

    23 amount to be determined at trial.

    24                             FIFTH CAUSE OF ACTION
    25                    COMMERCIAL DEFAMATION/TRADE LIBEL
    26                                (ALL DEFENDANTS)
    27        134.    Plaintiff incorporates as though fully set forth herein the allegations
    28 contained above in Paragraphs 1 through 133 of this Complaint as well as all
                                                  -27-
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     1 allegations stated below in each cause of action in the Complaint.

     2        135. Defendants’ statements as alleged in above, were slanderous per se
     3 under California Civil Code Section 46 in that such statements impute to Plaintiff a

     4 lack of professional competence, a lack of integrity, and failure to be modern or be

     5 up to date.

     6        136. Among other things, Plaintiff are informed and believe that
     7 employees, officers and agents of MDM, including but not limited to the Unknown

     8 Agents of MDM, and other MDM employees, on behalf of MDM, contacted

     9 multiple clients of Plaintiff and made statements to them that were untrue and

    10 defamatory.

    11        137. As a direct, proximate, and foreseeable result of Defendants’ unlawful
    12 conduct, as alleged above Plaintiff has suffered damages to date in an amount not

    13 now known.

    14        138. Plaintiff is informed and believes, and based thereon alleges, that
    15 Defendants have acted with oppression, fraud, and/or malice, and have deliberately

    16 caused and have intended to cause great economic harm to Plaintiff with full

    17 knowledge of the wrongfulness of their conduct.

    18        139. Plaintiff is further informed and believes, and based thereon alleges,
    19 that Defendants' conduct as alleged above was despicable, was carried on by

    20 Defendants with a willful and conscious disregard of Plaintiff's rights, and

    21 subjected Plaintiff to unjust hardship. Therefore, Plaintiff should be awarded

    22 punitive and exemplary damages sufficient to punish Defendants for engaging in

    23 this conduct and to deter similar conduct on their part in the future. Defendants

    24 acted with malice, oppression and in conscious disregard of, and with deliberate

    25 difference to the harm their conduct might cause, and punitive damages are

    26 necessary to deter them from similar conduct in the future.

    27                            SIXTH CAUSE OF ACTION
    28                            TRADEMARK INFRINGEMENT
                                                -28-
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     1                                (ALL DEFENDANTS)
     2        140.   Plaintiff incorporates as though fully set forth herein the allegations
     3 contained above in Paragraphs 1 through 139 of this Complaint as well as all

     4 allegations stated below in each cause of action in the Complaint.

     5        141. Prior to any acts of Defendants as set forth herein, Plaintiff had
     6 selected the mark “Doctor Multimedia” at least as early as 2016 or earlier, for use

     7 in identifying its business.

     8        142.   Plaintiff has used the trademark "Doctor Multimedia” in interstate
     9 commerce, beginning at least as early as 2016 or earlier, to identify its business

    10 and in advertising its services as well as business.

    11        143. Plaintiff is the owner of federal trademark for the trademark "Doctor
    12 Multimedia” for use to identify Plaintiff's business and the services it provides.

    13 (See Exhibit A attached hereto).

    14        144.   Subsequent to Plaintiff’s adoption and use of the trademark "Doctor
    15 Multimedia” to identify Plaintiff's business, Defendants have used and prominently

    16 displayed a mark, business name, trade name, and domain site name similar to

    17 "Doctor Multimedia" called "Modern Doc Media" in an attempt to confuse the

    18 public, confuse consumers, confuse clients, divert actual or potential clients away

    19 from Plaintiff, and/or to disparage Plaintiff by suggesting that MDM is the better,

    20 more modern version of Plaintiff's company with whom it is affiliated with.

    21        145.   In violation of 15 U.S.C.A. § 1125(a), Defendants have used or
    22 caused to be used the mark “Doctor Multimedia” or the similar name "Modern Doc

    23 Media" directly or indirectly in interstate commerce and in a manner that affects

    24 interstate commerce including the use of the mark or name "Doctor Multimedia”

    25 on its website and/or in advertisement materials relating to its competing business

    26 in various states throughout the United States to include California.

    27        146. Such use of Plaintiff's mark and/or the similar name of "Modern Doc
    28 Media" by Defendants is likely to cause confusion to the public and consumers
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     1 who may or do believe Plaintiff and MDM are related, affiliated, or the same.

     2 Such use of Plaintiff's mark and/or the similar name of "Modern Doc Media" by

     3 Defendants falsely suggests that MDM is related to, approved by, or is "Doctor

     4 Multimedia." Such use of the mark and the similar name "Modern Doc Media" by

     5 Defendants is done with full knowledge of the falsity of such representations and

     6 designation of origin, and knowingly suggests falsely that MDM is related or the

     7 same business and/or approved by Plaintiff.

     8        147. In doing the acts set forth above, Defendants have deliberately
     9 appropriated the use of the mark with the intent to deceive the trade and public into

    10 mistaking and confusing "Doctor Multimedia" with "Modern Doc Media."

    11        148.   The actions of Defendants, as referred to above, were done for the
    12 purpose of unlawfully appropriating and trading on the goodwill, business, clients,

    13 and reputation that have been developed by Plaintiff under the trademark “Doctor

    14 Multimedia” and such actions constitute not only false representations that the

    15 business, website and name of Plaintiff is the same as or related to that of MDM,

    16 but also false representations that the name and services of MDM originate or are

    17 the same or related to "Doctor Multimedia."

    18        149. Defendants’ actions complained of here constitute a false designation
    19 of origin of the source of Defendants' name, website, business, and services as well

    20 as unfair competition by Defendants.

    21        150. The acts and activities of Defendants also constitute a fraud and
    22 deception on the public, and the natural and probable tendency of the acts of

    23 Defendants are calculated to deceive the public and to pass off the website, name,

    24 business and services offered or rendered by Defendants as those of Plaintiff.

    25        151. Unless Defendants are enjoined from all actions which relate in any
    26 manner to the use of the mark "Doctor Multimedia” or any term likely to be

    27 confusingly similar thereto in connection with the services provided by Plaintiff to

    28 include the use of the name "Modern Doc Media," Plaintiff will suffer immediate
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     1 and irreparable harm and injury.

     2        152. Defendants have benefited and profited in an unknown amount from
     3 the use of the mark “Doctor Multimedia” and the confusingly similar name

     4 "Modern Doc Media" as referred to above, and Plaintiff has suffered damages in an

     5 amount to be determined at trial but estimated to be at least $7 million.

     6        153. The above-mentioned acts of Defendants were willful and without any
     7 claim of right and were attended by circumstances of fraud, malice, or a wanton

     8 and reckless disregard of Plaintiff's ’s rights, entitling Plaintiff to exemplary

     9 damages.

    10        154.    On information and belief, Defendants’ trademark infringement will
    11 continue unless enjoined by this Court. Pursuant to 15 U.S.C.A. § 1116, Plaintiff

    12 seeks a preliminary and permanent injunction against further trademark

    13 infringement by Defendants.

    14        155. Defendants’ acts of trademark infringement have damaged Plaintiff in
    15 an amount to be determined at trial. Pursuant to 15 U.S.C.A. § 1117, Plaintiff is

    16 entitled to, among other things, seek Defendants’ profits, actual damages, and costs

    17 of this action and such additional relief as may be deemed appropriate and awarded

    18 by this Court.

    19        156. Defendants’ acts of trademark infringement have been and continue to
    20 be deliberate and willful and warrant an award of enhanced damages. Accordingly,

    21 Plaintiff is entitled to and seek a finding that this case is exceptional and warrants

    22 an award of treble damages and attorneys’ fees pursuant to 15 U.S.C.A. § 1117.

    23                           SEVENTH CAUSE OF ACTION
    24         UNFAIR COMPETITION AND FALSE DESIGNATION OF ORIGIN
    25                                 (ALL DEFENDANTS)
    26        157. Plaintiff incorporates as though fully set forth herein the allegations
    27 contained above in Paragraphs 1 through 156 of this Complaint as well as all

    28 allegations stated below in each cause of action in the Complaint.
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     1        158.    No later than 2016, long before August of 2020, and long prior to any
     2 of the acts of the Defendants complained of in this Complaint, Plaintiff adopted the

     3 mark "Doctor Multimedia" as a trademark to designate its business name, website,

     4 and website services, said mark being extensively used, advertised and promoted

     5 throughout the United States in general and in the State of California in particular.

     6        159. Since long prior to the acts of Defendants complained of in this
     7 Complaint, Plaintiff has extensively and continuously marketed, sold, advertised

     8 and promoted its business under the trademark and business name "Doctor

     9 Multimedia."

    10        160. Plaintiff has gained a substantial reputation in its market and the
    11 public in connection with its services marketed and sold under the "Doctor

    12 Multimedia" trademark.

    13        161. By reason of the marketing and sale of services under the above
    14 trademark, the trade and the public, prior to said acts of Defendants complained of

    15 in this Complaint, have come to recognize the trademark "Doctor Multimedia,"

    16 when used in connection with the digital marketing, website design/marketing and

    17 social media services it offers to professionals including, medical doctors, dentists,

    18 and others as identifying such as being exclusively supplied by, authorized or

    19 affiliated with Plaintiff.

    20        162. Since 2020 or earlier, Defendants have marketed, distributed,
    21 advertised and promoted its business and services in the United States by the name

    22 "Modern Doc Media" in order to confuse the public and consumers into believing

    23 that MDM and "Doctor Multimedia" are similar, related, or the same and/or that

    24 Plaintiff approves of MDM.

    25        163. The acts of the Defendants of selling, advertising, marketing and/or
    26 promoting its business and its service through the use of the trademark "Modern

    27 Doc Media" is directed to the same segment of the purchasing public to which

    28 Plaintiff directs its business and services.
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     1        164. Defendant's use of the name "Modern Doc Media" and/or use of the
     2 trademark "Doctor Multimedia" as alleged above to designate, advertise and/or

     3 promote its business, website and services in the United States is likely to cause

     4 confusion or mistake or to deceive the purchasers or customers of its services as to

     5 the source of origin of Defendants' business, website and services as well as to

     6 cause Defendants' services, website and business to be passed off or viewed as

     7 those which are provided or authorized by Plaintiff.

     8        165. Defendants' above-alleged actions constitute the use in connection
     9 with services of false or misleading descriptions and representations with respect to

    10 the origin, sponsorship or approval of its business, website and services and the

    11 publicity therefor by suggesting that such services and business as well as the

    12 advertising thereof are connected with or associated, sponsored or affiliated with

    13 Plaintiff or that the same truly originated with Plaintiff.

    14        166. Defendants have caused their business, website, domain name, and
    15 services, and the advertising and/or promotion thereof, to enter United States

    16 commerce. The misappropriation and use of Plaintiff's "Doctor Multimedia"

    17 trademark by Defendants as well as Defendants' other actions described above

    18 constitute false and misleading descriptions of fact and representations of fact that

    19 are likely to give the public a false impression and to confuse the public as to the

    20 source of Defendants' business, services, and website.

    21        167. Subsequent to Defendants' adoption of the name "Modern Doc
    22 Media" to identify its business, website, domain name, and services, Plaintiff's

    23 customers of its "Doctor Multimedia" services and business canceled or ended

    24 their contracts and business with Plaintiff believing that Plaintiff was the source of

    25 the services sold and marketed by Defendants in the United States identified by

    26 "Doctor Multimedia" trademark.

    27        168. Plaintiff is informed and believes and, based on such information and
    28 belief, alleges that Defendants adopted and used the name "Modern Doc Media"
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     1 with actual knowledge of Plaintiff's long prior use of the "Doctor Multimedia"

     2 trademark and with the intent to trade on the reputation and goodwill, history, and

     3 reputation of that mark and the Plaintiff's business.

     4        169. Although Defendants have been requested by Plaintiff to cease
     5 selling, advertising and/or promoting the sale of its services and/or marketing its

     6 business in the United States through the use of the name "Doctor Multimedia"

     7 Defendants have nevertheless, refused said request and have continued to use said

     8 mark to advertise, market and promote the sale of its services. This is therefore an

     9 exceptional case within the meaning of §35 of the United States Trademark Act, 15

    10 U.S.C. §1117, entitling Plaintiff to recover reasonable attorneys' fees.

    11        170. The aforesaid actions of Defendants have irreparably damaged
    12 Plaintiff and will, unless restrained, continue to so damage the business of Plaintiff

    13 and its goodwill, for all of which there is no adequate remedy at law.

    14                           EIGHTH CAUSE OF ACTION
    15                          FRAUD – INTENTIONAL AND
    16                 NEGLIGENT (INCLUDING CONCEALMENT)
    17                           (AGAINST HOFFMAN ONLY)
    18        171.   Plaintiff incorporates as though fully set forth herein the allegations
    19 contained above in Paragraphs 1 through 170 of this Complaint as well as all

    20 allegations stated below in each cause of action in the Complaint.

    21        172. Hoffman filed a lawsuit against Plaintiff. That lawsuit was settled and
    22 two settlement agreements (collectively "Settlement Agreement") were entered into

    23 by Hoffman and Plaintiff on or about February 15, 2021. Hoffman prior to the

    24 settlement, during settlement negotiations or prior to the settlement agreement being

    25 finalized or executed, intentionally failed to disclose that he had started one or more

    26 competing businesses to include MDM and MDG.

    27        173. Upon information and belief and thereupon so alleged, Hoffman first
    28 started MDM and MDG a few months prior to entering the on or about November
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     1 2, 2020. Upon information and belief and thereupon so alleged, he registered MDG

     2 with the California Secretary of State on or about November 2, 2020 (but did not

     3 register MDM).

     4        174. Upon information and belief and thereupon so alleged, Hoffman
     5 intentionally and fraudulently hid this information from Plaintiff so that Plaintiff

     6 would be induced by fraud to enter into the settlement agreement. If Plaintiff had

     7 known that Hoffman had started one or more competing entities to include MDM

     8 and MDG, Plaintiff would have never entered into the Settlement Agreement.

     9        175. Hoffman now lists and represents himself as the CEO of MDM and
    10 agent of MDG.

    11        176. Upon information and belief and thereupon so alleged, Hoffman has
    12 breached the Settlement Agreement.

    13        177. Among other things, Hoffman represented and warranted that he had
    14 no desire to solicit Plaintiff's customers/clients or injure Plaintiff’s business.

    15 Accordingly, Hoffman agreed that he would not affirmatively or actively solicit

    16 business away from Plaintiff, but may continue to conduct business in the normal

    17 course. Hoffman also agreed that he would not directly or indirectly, affirmatively

    18 or actively, solicit known clients of Plaintiff to do business with them.

    19        178. Hoffman also agreed that he would not engage in any disparagement of
    20 Plaintiff, whether it be by written or oral communication, directly or indirectly. He

    21 further agreed that he would not suggest that Plaintiff's employees, friends or

    22 associates write disparaging reviews or comments about the other or their counsel,

    23 on-line, on social media or otherwise.

    24        179. Hoffman also agreed to keep the terms of the Settlement Agreement
    25 confidential.

    26        180. Upon information and belief and thereupon so alleged, Hoffman has
    27 breached the Settlement Agreement repeatedly by: 1) actively soliciting current

    28 clients of Plaintiff on behalf of MDM; 2) disparaged Plaintiff, its officers, agents,
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     1 and its employees; and, 3) disclosing matters agreed to be kept confidential to

     2 include the terms of the Settlement Agreement.

     3         181. In or about February of 2021 and specifically on or before February
     4 15, 2021, Hoffman failed to disclose to Plaintiff that he had started one or more

     5 competing businesses to include MDG and MDM. If Plaintiff had known such

     6 information, Plaintiff would not have entered into the Settlement Agreement.

     7         182. Hoffman also represented and agreed not to actively solicit Plaintiff's
     8 current clients, disparage Plaintiff or Plaintiff's officers/agents/employees, and that

     9 he would keep the terms of the Settlement Agreement. Plaintiff was induced to

    10 enter into the Settlement Agreement based upon these representations.

    11         183. Hoffman's representations were false.
    12         184. Hoffman made the foregoing representations knowingly, willfully,
    13 and/or with reckless disregard for its falsity.

    14         185. Hoffman made the foregoing representations with the intent of
    15 inducing Plaintiff to enter into the Settlement Agreement.

    16         186. Plaintiff, relying on the foregoing misrepresentations, entered into the
    17 Settlement Agreement and paid consideration to Hoffman and/or Hoffman's agent.

    18         187. The representations made by Hoffman were false.
    19         188. Hoffman knew that the representations were false when he made
    20 them.

    21         189. Hoffman intended for Plaintiff to rely on the representations.
    22         190. Plaintiff reasonably and justifiably relied on Hoffman's
    23 representations.

    24         191. As a proximate result of Hoffman's fraudulent representations and
    25 Plaintiff's reasonable reliance on them, Plaintiff suffered injury to include but not

    26 limited to damage to its goodwill, the loss of customers and business, and the

    27 inability to fully market, sell, and distribute its services.

    28         192. Plaintiff has been damaged in amount of $1 million or more according
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     1 to proof at time of trial.

     2        193. Hoffman's conduct was malicious and fraudulent. Such conduct
     3 justifies an award against the Hoffman of punitive and exemplary damages in an

     4 amount to be proven at trial.

     5                              NINTH CAUSE OF ACTION
     6                               BREACH OF CONTRACT
     7                              (AGAINST HOFFMAN ONLY)
     8        194. Plaintiff incorporates as though fully set forth herein the allegations
     9 contained above in Paragraphs 1 through 193 of this Complaint as well as all

    10 allegations stated below in each cause of action in the Complaint.

    11        195. Hoffman filed a lawsuit against Plaintiff. That lawsuit was settled and
    12 two settlement agreements (collectively "Settlement Agreement") were entered into

    13 by Hoffman and Plaintiff on or about February 15, 2021. Hoffman prior to the

    14 settlement, during settlement negotiations or prior to the settlement agreement being

    15 finalized or executed, intentionally failed to disclose that he had started one or more

    16 competing businesses to include MDM and MDG.

    17        196. Upon information and belief and thereupon so alleged, Hoffman first
    18 started MDM and MDG a few months prior to entering the on or about November

    19 2, 2020. Upon information and belief and thereupon so alleged, he registered MDG

    20 with the California Secretary of State on or about November 2, 2020 (but did not

    21 register MDM).

    22        197. Upon information and belief and thereupon so alleged, Hoffman
    23 intentionally and fraudulently hid this information from Plaintiff so that Plaintiff

    24 would be induced by fraud to enter into the settlement agreement. If Plaintiff had

    25 known that Hoffman had started one or more competing entities to include MDM

    26 and MDG, Plaintiff would have never entered into the Settlement Agreement.

    27        198. Hoffman has breached the Settlement Agreement.
    28        199. Among other things, Hoffman represented and warranted that he had
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     1 no desire to solicit Plaintiff's customers/clients or injure Plaintiff’s business.

     2 Accordingly, Hoffman agreed that he would not affirmatively or actively solicit

     3 business away from Plaintiff, but may continue to conduct business in the normal

     4 course. Hoffman also agreed that he would not directly or indirectly, affirmatively

     5 or actively, solicit known clients of Plaintiff to do business with them.

     6        200. Hoffman also agreed that he would not engage in any disparagement of
     7 Plaintiff, whether it be by written or oral communication, directly or indirectly. He

     8 further agreed that he would not suggest that Plaintiff's employees, friends or

     9 associates write disparaging reviews or comments about the other or their counsel,

    10 on-line, on social media or otherwise.

    11        201. Hoffman also agreed to keep the terms of the Settlement Agreement
    12 confidential.

    13        202. Upon information and belief and thereupon so alleged, Hoffman has
    14 breached the Settlement Agreement repeatedly by: 1) actively soliciting current

    15 clients of Plaintiff on behalf of MDM; 2) disparaged Plaintiff, its officers, agents,

    16 and its employees; and, 3) disclosing matters agreed to be kept confidential to

    17 include the terms of the Settlement Agreement.

    18        203. Plaintiff and Hoffman had valid settlement agreements as indicated
    19 above herein.

    20        204. Plaintiff has performed all conditions of the agreements on its part to
    21 be performed, except to the extent excused therefrom by Hoffman's conduct.

    22        205. Plaintiff believes and thereon alleges that it has been damaged in
    23 amount of $1 million or more according to proof at time of trial.

    24                             TENTH CAUSE OF ACTION
    25           CYBERSQUATTING PURSUANT to 15 U.S.C.A. § 1125(d)
    26                                 (ALL DEFENDANTS)
    27        206.     Plaintiff incorporates as though fully set forth herein the allegations
    28 contained above in Paragraphs 1 through 205 of this Complaint as well as all
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     1 allegations stated below in each cause of action in the Complaint.

     2        207. Defendants own and operate a website address located at
     3 https://moderndocmedia.com ("Infringing Domain"). This domain was registered

     4 on August 26, 2020. Defendants use this website to market, sell, and do business

     5 with the public and to compete with DMM.

     6        208. On information and belief, Defendants registered and currently
     7 control and use the Infringing Domain.

     8        209. Plaintiff's "Doctor Multimedia" mark was distinctive at the time
     9 Defendants registered and used the Infringing Domain.

    10        210. The Infringing Domain is confusingly similar to the Doctor
    11 Multimedia mark and domain name.

    12        211. On information and belief, Defendants were aware of the existence of
    13 the Doctor Multimedia mark and website name when they registered and began

    14 using the Infringing Domain.

    15        212. On information and belief, Defendants use the Infringing Domain in
    16 connection with the sale and promotion of Defendants’ own services which

    17 directly compete with the goods and services of Plaintiff.

    18        213. On information and belief, Defendants registered, trafficked in, or
    19 used the Infringing Domain in bad faith and with bad-faith intent to profit from the

    20 goodwill long that Plaintiff has established in the name Doctor Multimedia, the

    21 Doctor Multimedia mark, and the Doctor Multimedia domain name.

    22        214. On information and belief, Defendants do not have any intellectual
    23 property rights or any other rights in the name Doctor Multimedia, the Doctor

    24 Multimedia mark, and the Doctor Multimedia domain name.

    25        215. On information and belief, Defendants have not made any bona fide
    26 fair use of the Doctor Multimedia mark on a website accessible under the

    27 Infringing Domain.

    28        216.   Defendants’ registration, use, or trafficking in the Infringing Domain
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     1 constitutes cybersquatting in violation of 15 U.S.C. § 1125(d), entitling Plaintiff to

     2 relief.

     3           217. The Infringing Domain and website thereon are likely to cause
     4 confusion among the consuming public, who will be led to believe that Plaintiff is

     5 affiliated with Defendants, and each of them, and/or has approved of Defendants’

     6 use and registration of the domain name and the contents contained on the website.

     7           218. The Defendants’ use of the domain name also dilutes the distinctiveness
     8 of the name and distinctiveness of Plaintiff's trademark and trade name(s) and will

     9 cause confusion by the public when trying to distinguish any services offered by

    10 from the goods and services offered by others, including Defendants.

    11           219. Plaintiffs have no ability to control what is published on Defendant's
    12 website or what is fraudulently marketed and sold by Defendants.

    13           220. Plaintiffs' name is a distinctive and famous mark, and was a distinctive
    14 and famous mark at the time the domain name was registered pursuant to the

    15 Anticybersquatting Consumer Protection Act of 1999, 15 U.S.C.A. § 1125(d)

    16 (referred to below as the “Anticybersquatting Act”), and specifically Section 3002(a)

    17 of the Act, 15 U.S.C.A. § 1125(d)(1).

    18           221. Plaintiff is informed and believes, and on the basis of such information
    19 and belief allege, that the Defendants and each of them, have had, and continue to

    20 have, a bad faith intent to profit from the Doctor Multimedia name which are each

    21 protected as distinctive marks and/or personal names under Section 3002(a) of the

    22 Anticybersquatting Act, 15 U.S.C.A. § 1125(d)(1).

    23           222. Such    actions   are   a   violation   of   Section   3002(a)   of    the
    24 Anticybersquatting Act, 15 U.S.C.A. § 1125(d)(1)(A)(ii)(I), (II); (B)(i)(II), (VI).

    25           223. By reason of Defendants’ acts alleged herein, Plaintiff's remedy at law
    26 is not adequate to compensate it for the injuries inflicted by Defendants.

    27 Accordingly, Plaintiff is entitled to preliminary and permanent injunctive relief

    28 pursuant to 15 U.S.C. § 1116.
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     1        224. If Defendants are not enjoined and restrained from their use and
     2 promotion of the Infringing Domain, Plaintiff and its goodwill and reputation will

     3 continue to suffer immediate, substantial and irreparable injury that cannot be

     4 adequately calculated and wholly compensated by monetary damages. Moreover,

     5 under 15 U.S.C. § 1125(d)(1)(C), Plaintiff seeks an injunction ordering Defendants

     6 and their registrar to transfer the Infringing Domain to Plaintiff.

     7        225. By reason of Defendants’ acts alleged herein, Plaintiff is entitled to
     8 recover its actual damages, costs of the action and Defendants’ profits, or statutory

     9 damages under 15 U.S.C. 1117, on election by Plaintiff, in an amount of up to

    10 $100,000 per domain name infringement.

    11        226. The above-described acts of the Defendants were willful, entitling
    12 Plaintiff to treble damages under 15 U.S.C. § 1117.

    13        227. This is an exceptional case making Plaintiff eligible for an award of
    14 attorneys’ fees under 15 U.S.C. 1117.

    15        228. Finally, Plaintiff seeks a permanent injunction restraining Defendants
    16 from registering any domain names containing the terms “doc” or "doctor"

    17 regardless of the spacing or hyphenation between the words.

    18        WHEREFORE, Plaintiff pray for relief and judgment as follows:
    19        1.     For a temporary restraining order and permanent injunction enjoining
    20 Defendants and any person or entity acting in concert with them from:

    21        (a)   soliciting,   directly   or   indirectly,   by   mail,   phone,    electronic
    22        communication, personal meeting, or any other means, any client of Plaintiff
    23        who Defendants dealt with, learned about, or whose name became known to
    24        Defendants;
    25        (b)    For a temporary restraining order and permanent injunction enjoining
    26        Defendants, and all those in active concert or participation with Defendants
    27        (including, but not limited to, officers, directors, agents, servants,
    28        wholesalers, distributors, retailers, employees, representatives, attorneys,
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     1       agents, independent contractors, subsidiaries, related companies, successors,
     2       assigns and contracting parties) from distributing, publishing, broadcasting
     3       or otherwise disseminating, in any manner or in any medium, any claims
     4       stating, suggesting or implying, directly or indirectly, that Plaintiff are not a
     5       reputable businesses or that their employees, owners, officers, or agents are
     6       not reputable.
     7       (c)   For a temporary restraining order and permanent injunction requiring
     8       Defendants to withdraw and recall from its sales representatives and any and
     9       all channels of distribution any letters, flyers, advertising, promotional
    10       materials, office display materials, or any other matter distributed by it or on
    11       its behalf bearing any descriptions or representations constituting false
    12       advertising concerning Plaintiff, their services, or their business.
    13       (d)   For a temporary restraining order and permanent injunction requiring
    14       Defendants and those in active concert or participation with Defendants
    15       (including, but not limited to, officers, directors, agents, servants,
    16       wholesalers, distributors, retailers, employees, representatives, attorneys,
    17       subsidiaries, related companies, successors, assigns and contracting parties)
    18       to take affirmative steps to dispel such false impressions that have been
    19       created by the false advertising campaign described above, including, but
    20       not limited to, notifying all clients exposed to the false claims described
    21       above that the statements were and are false.
    22       (e)   For a temporary restraining order and permanent injunction requiring
    23       Defendants to identify all companies, creditors and/or clients that they
    24       distributed disparaging or false information about Plaintiff.
    25       (g)   The Court adjudge and decree that Defendants, their agents,
    26       representatives, employees, assigns and suppliers, and all persons acting in
    27       concert or privity with them, be preliminarily and permanently enjoined from
    28       the following activities; and/or
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     1        (h)   For a temporary restraining order and permanent injunction requiring
     2        MDM not to send Unknown Agents of MDM to any trade shows or
     3        conferences and/or precluding Unknown Agents of MDM from attending
     4        any public trade show or conference which will be attended by DMM or Jet
     5        for the next two years.
     6        2.    That Defendants and their officers, agents, members, servants,
     7 employees, attorneys, confederates, related companies, and all persons acting in

     8 concert or participation with it, be enjoined and restrained during the pendency of

     9 this action, and permanently thereafter:

    10        (a)   from using in any manner as a trademark or trade name in the United
    11        States the same as or similar to the mark "Doctor Multimedia" (to include the
    12        name "Modern Doc Media" alone or in combination with any other word or
    13        words or design, in connection with designating, distributing, advertising,
    14        promoting and/or offering for sale on MDM's website and online business
    15        services or not authorized by Plaintiff to be sold in connection with said mark;
    16        (b)   from passing off, inducing or enabling others to sell or pass off their
    17        services that are not Plaintiff's or not offered under the control and supervision
    18        of Plaintiff and approved by Plaintiff, through the use of the mark "Doctor
    19        Multimedia" or the trade/business name "Modern Doc Media", or formatives
    20        thereof;
    21        (c)   from committing any acts calculated to cause purchasers or clients or
    22        the public to believe that MDM's business, website, and services are
    23        sponsored by, related to or approved or connected with or guaranteed by or
    24        offered, marketed and sold under the control and supervision of Plaintiff; and
    25        (d)   from otherwise competing unfairly with Plaintiff in any manner.
    26        (e)   from using the trade or business name "Modern Doc Media" or any
    27        formatives thereof in any fashion to include in advertising, in marketing, in
    28        contracts, on the MDM website, and/or in the domain name for MDM.
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     1        3.    For a constructive trust of all money wrongfully obtained by
     2              Defendants as a result of the wrongful, unfair, illegal, fraudulent and
     3              tortious conduct alleged herein.
     4        4.    For an accounting to determine the amount of profits and/or other
     5              opportunities that were usurped from Plaintiff and for the purpose of
     6              determining the amount of Defendants’ profits to disgorge.
     7        5.    For an award of actual and compensatory damages in an amount to be
     8              proven at trial.
     9        6.    For restitution of all money wrongfully obtained by Defendants by
    10              means of and in connection with the alleged wrongful, unfair, and
    11              fraudulent conduct and business practices alleged herein.
    12        7.    For punitive and exemplary damages according to proof;
    13        8.    For damages in the amount of $7 million or more according to proof;
    14        9.    Pre-and post-judgment interest on its damages, together with all costs
    15              and expenses; and,
    16        10.   Awarding such other relief as this Court may deem just and proper.
    17

    18
                                              MURCHISON & CUMMING, LLP
         DATED: June 6, 2022
    19

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                                                      /s/Pamela C. Chalk
    21                                          Anton N. Handal, Esq.
    22                                          Pamela C. Chalk, Esq.
                                                Attorneys for Plaintiff
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     1                    JURY DEMAND
     2
             Plaintiff demands a trial by jury as to all claims so triable.
     3

     4                                         MURCHISON & CUMMING, LLP
     5 DATED: June 6, 2022

     6

     7                                                 /s/Pamela C. Chalk
     8
                                                 Anton N. Handal, Esq.
                                                 Pamela C. Chalk, Esq.
     9                                           Attorneys for Plaintiff
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     1                           CERTIFICATE OF SERVICE
     2        The undersigned hereby certifies that a true and correct copy of the foregoing
     3 document has been served on this date to all counsel of record, if any to date, who

     4 are deemed to have consented to electronic service via the Court’s CM/ECF system

     5 per CivLR 5.1(h). Any other counsel of record will be served by electronic mail,

     6 facsimile and/or overnight delivery upon their appearance in this matter.

     7        I declare under penalty of perjury of the laws of the United States that the
     8 foregoing is true and correct. Executed this 6th day of June, 2022 at San

     9 Diego, California.

    10
         DATED: June 6, 2022                   MURCHISON & CUMMING, LLP
    11

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    13                                                 /s/Pamela C. Chalk
                                                 Pamela C. Chalk, Esq.
    14                                           Attorneys for Plaintiff
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                    EXHIBIT A
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   Reg. NO.6,338612                                           Gopher Multimedia (NEVADA LIMITED LIABILITY COMPANY)
                                                              s34s vegan Drive
   Registered May 04,2021                                     Las Vegas, NEVADA 89108
   Illt. Cl.: 35~ 42                                          CLASS 35: Online advertising and marketing services in the field of medical services;
                                                              Online advertising and marketing services in the field of veterinary services; Online
   Service Mark                                               advertising and marketing services in the field of dental services; Online advertising and
                                                              marketing services in the field of chiropractic services; Online advertising and
   Principal Register
                                                              marketing services in the field of pharmacy goods and services; Online advertising and
                                                              marketing services in the field of podiatry services; Online advertising and marketing
                                                              services in the field of orthodontic services; Online advertising and marketing services
                                                              in the field of eye care services; Web site traffic optimization

                                                              FIRST USE 7-26-2016; IN COMMERCE 9-10-2016

                                                              CLASS 42: Web site design; Web site development for others

                                                              FIRST USE 7-26-2016; IN COMMERCE 9-10-2016

                                                              THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                                                              ANY PARTICULAR FONT STYLE,SIZE OR COLOR

                                                              No claim is made to the exclusive right to use the following apart from the mark as
                                                              shown:"MULTIMEDIA"

                                                              SER. NO.90-049,874, FILED 07-13-2020




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Director of the United States Patent and Trademark O41'ice
